 Case 1:20-cv-11421-DPW-BMS-PBS               Document 40          Filed 11/02/20   Page 1 of 5




                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MASSACHUSETTS
____________________________________
                                        )
HAITIAN-AMERICANS UNITED, INC., )
BRAZILIAN WORKER CENTER,                )
CHELSEA COLLABORATIVE, INC.,            )
CENTRO PRESENTE,                        )
GLADYS VEGA, NORIELIZ DEJESUS, )
ROY AVELLANEDA, DIEUFORT                )
FLEURISSAINT, MARTHA FLORES,            )
and JESSICA ARMIJO,                     )
                                        )
                       Plaintiffs,      )
                                        )
       v.                               )            Case No. 20-11421-DPW-BMS-PBS
                                        )
DONALD J. TRUMP, President of the       )
United States in his Official Capacity, )
UNITED STATES DEPARTMENT OF             )
COMMERCE, UNITED STATES                 )
BUREAU OF THE CENSUS, STEVEN            )
DILLINGHAM, Director of the U.S.        )
Census Bureau in his Official Capacity, )
and WILBUR ROSS, Secretary of the       )
Department of Commerce in his Official  )
Capacity,                               )
                                        )
                       Defendants.      )
____________________________________)

                        JOINT MOTION TO STAY PROCEEDINGS

       Plaintiffs and Defendants jointly move this Court for an order staying this action pending

the resolution of pending Supreme Court proceedings in two federal court cases: Trump v. New

York, No. 20-366, 2020 WL 6109551 (U.S. Oct. 16, 2020) and San Jose v. Trump, Nos. 20-CV-

05167-RRC-LHK-EMC, 20-CV-05169-RRC-LHK-EMC, --- F. Supp. 3d ---, 2020 WL 6253433,

at *51 (N.D. Cal. Oct. 22, 2020) (three-judge court), appeal filed, No. 20–561 (S. Ct. docketed

Oct. 29, 2020). A Proposed Order granting this Motion is attached hereto as Exhibit A.

       As grounds for this Motion, the parties state as follows:
 Case 1:20-cv-11421-DPW-BMS-PBS               Document 40       Filed 11/02/20     Page 2 of 5




       1.      In this action, Plaintiffs are challenging a Memorandum that President Donald J.

Trump issued on July 21, 2020, titled “Excluding Illegal Aliens from the Apportionment Base

Following the 2020 Census” (the “July 21 Memorandum”). Plaintiffs challenge the

Memorandum on a variety of grounds, including that it purports to exclude certain persons “who

are not in a lawful immigration status under the Immigration and Nationality Act” from the base

for congressional apportionment, in alleged violation of the U.S. Constitution and the Census

Act. 85 Fed. Reg. 44,679, 44,680 (July 23, 2020).

       2.      On September 10, 2020, a three-judge court in the Southern District of New York

issued an opinion and order granting partial summary judgment to the plaintiffs—who, like the

Plaintiffs here, had filed an action challenging the July 21 Memorandum—on their claims that

the Memorandum violates 13 U.S.C. § 141(b) and 2 U.S.C. § 2a(a) and thus is ultra vires, issued

a declaratory judgment that the Memorandum is unlawful, and issued a permanent injunction

barring the Defendants (other than President Trump) from implementing the Memorandum in

certain respects. New York v. Trump, 20-CV-5770 (RCW) (PWH) (JMF), --- F. Supp. 3d. ---,

2020 WL 5422959, at *32-36 (S.D.N.Y. Sept. 10, 2020) (per curiam), appeal docketed, Trump v.

New York, No. 20-366 (U.S. Sept. 22, 2020). On October 16, 2020, the Supreme Court issued an

order scheduling oral argument in the Southern District of New York case for November 30,

2020. See Trump v. New York, No. 20-366, 2020 WL 6109551 (U.S. Oct. 16, 2020).

       3.      On October 22, 2020, a three-judge court in the Northern District of California

issued an order granting partial summary judgment to the plaintiffs in another action challenging

the July 21 Memorandum. San Jose v. Trump, Nos. 20-CV-05167-RRC-LHK-EMC, 20-CV-

05169-RRC-LHK-EMC, --- F. Supp. 3d ---, 2020 WL 6253433, at *51 (N.D. Cal. Oct. 22,

2020), appeal filed, No. 20–561 (S. Ct. docketed Oct. 29, 2020). That same day, the San Jose



                                                2
 Case 1:20-cv-11421-DPW-BMS-PBS                  Document 40         Filed 11/02/20       Page 3 of 5




court entered final judgment in favor of the plaintiffs on those claims, declaring that the July 21

Memorandum is unlawful, and permanently enjoining the Defendants (other than the President)

(a) from including in the Secretary of Commerce’s report to the President pursuant to Section

141(b) “any ‘information permitting the President . . . to exercise the President’s discretion to

carry out the policy set forth in section 2’” of the July 21 Memorandum, and (b) requiring the

Secretary to include in his Section 141(b) report “only ‘[t]he tabulation of total population by

States under’ Section 141(a) ‘as required for the apportionment of Representatives in Congress

among the several States.’” San Jose v. Trump, 20-cv-05167-LHK-RRC-EMC, ECF No. 102 at 3

(quoting July 21 Memorandum, 85 Fed. Reg. at 44,680 and 13 U.S.C. § 141(b)). On October 23,

2020, the Defendants noticed an appeal of the San Jose court’s order and final judgment to the

Supreme Court. Id., ECF Nos. 103, 105. On October 29, 2020, Defendants filed their

Jurisdictional Statement in that Supreme Court appeal. See generally Jurisdictional Statement in

Trump v. San Jose, No. 20–561 (S. Ct. Oct. 29, 2020).

        4.      Both the New York and San Jose cases involve the same defendants and similar

claims to those that Plaintiffs assert here. In addition, the presiding three-judge courts have

granted declaratory and injunctive relief that is essentially identical to the relief that Plaintiffs

seek here. The United States Supreme Court is reviewing the first of the two orders granting that

relief, with oral argument scheduled for November 30, 2020, and the Defendants have noticed an

appeal of the second order to the Supreme Court, and filed their Jurisdictional Statement with the

Court on October 29, 2020.

        5.      Accordingly, a stay of the proceedings pending the Supreme Court’s resolution of

Defendants’ appeals is warranted in the interests of judicial economy and the Parties’ interests in

the efficient use of their own resources.



                                                   3
 Case 1:20-cv-11421-DPW-BMS-PBS              Document 40        Filed 11/02/20     Page 4 of 5




       In further support of this Motion, the Parties refer the Court to their Memorandum in

Support of Joint Motion to Stay Proceedings, which has been filed with this Motion.

       WHEREFORE, the parties respectfully request that the Court stay this action pending the

Supreme Court’s resolution of the New York and San Jose appeals, or such time, if any, that this

Court may extend the stay upon motion by either party.

Respectfully submitted,
HAITIAN-AMERICANS UNITED, INC.,                     DONALD J. TRUMP, President of the
BRAZILIAN WORKER CENTER,                            the United States in his Official Capacity,
CHELSEA COLLABORATIVE, INC.,                        UNITED STATES DEPARTMENT OF
CENTRO PRESENTE, GLADYS VEGA,                       COMMERCE, UNITED STATES
NORIELIZ DEJESUS, ROY                               BUREAU OF THE CENSUS, STEVEN
AVELLANEDA, DIEUFORT                                DILLINGHAM, Director of the U.S.
FLEURISSAINT, MARTHA FLORES,                        Census Bureau in his Official Capacity,
and JESSICA ARMIJO                                  and WILBUR ROSS, Secretary of the
                                                    Department of Commerce in his Official
                                                    Capacity


By their attorneys,                                 By their attorneys,

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                                                4
 Case 1:20-cv-11421-DPW-BMS-PBS              Document 40        Filed 11/02/20     Page 5 of 5




                                CERTIFICATE OF SERVICE

        I hereby certify that the within document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                    /s/ Patrick M. Curran, Jr.
                                                    Patrick M. Curran, Jr.




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